Case 3:22-cr-01881-JO Document 1 Filed 08/16/22 PageID.1 Page 1 of 10
Case 3:22-cr-01881-JO Document 1 Filed 08/16/22 PageID.2 Page 2 of 10
Case 3:22-cr-01881-JO Document 1 Filed 08/16/22 PageID.3 Page 3 of 10
Case 3:22-cr-01881-JO Document 1 Filed 08/16/22 PageID.4 Page 4 of 10
Case 3:22-cr-01881-JO Document 1 Filed 08/16/22 PageID.5 Page 5 of 10
Case 3:22-cr-01881-JO Document 1 Filed 08/16/22 PageID.6 Page 6 of 10
Case 3:22-cr-01881-JO Document 1 Filed 08/16/22 PageID.7 Page 7 of 10
Case 3:22-cr-01881-JO Document 1 Filed 08/16/22 PageID.8 Page 8 of 10
Case 3:22-cr-01881-JO Document 1 Filed 08/16/22 PageID.9 Page 9 of 10
Case 3:22-cr-01881-JO Document 1 Filed 08/16/22 PageID.10 Page 10 of 10
